     Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 1 of 23




UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



DANIEL ZAGORIA, On Behalf of Himself      Case No.:   1:20-cv-3610
And All Others Similarly Situated,

               Plaintiff,                 CLASS ACTION COMPLAINT

v.
                                          Jury Trial Demanded
NEW YORK UNIVERSITY,

              Defendant.




                                   2
       Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 2 of 23




       Plaintiff Daniel Zagoria (“Plaintiff”), on behalf of himself and all others similarly situated,

invokes the Court’s jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. § 1332(d),

and complains against Defendant New York University (“NYU”) as follows:

                                  NATURE OF THE ACTION

       1. This is an action for breach of contract, unjust enrichment, and for recovery under the

law of money had and received brought by Plaintiff on behalf of himself and all other similar

situated students enrolled at NYU who did not enroll at NYU’s online degree programs. NYU

has shut down its campus facilities, discontinued all on-campus in-classroom instruction of any

courses at any of NYU’s campuses and schools, and instead moved all instruction to remote

online media. While these actions are attributable to the COVID 19 pandemic and the shelter-in-

place order in effect in the State of New York, NYU has continued holding Plaintiff and all

students liable for the full pre-shutdown tuition and fee obligations. This, despite the fact that

NYU is unable to provide, and is not providing, the services or facilities that the students

bargained for and are being billed for as part of their tuition and fees—fees and tuition costs that

easily amount to thousands of dollars per student.

       2. While NYU may not bear culpability for the campus closures or the inability to

provide any classroom instruction, neither do the enrolled students. Yet, while NYU has used

the current COVID 19 shutdown circumstances to excuse NYU’s duty to fully perform the

obligations of its bargain with its students, NYU continues to demand that all students fully

perform their contractual bargain to pay in full all tuition and fees without any reduction for

NYU’s lack of full performance. This is contrary to ordinary tenets of contract law. And this

indefensible breach is saddling wholly innocent students with mounting debt as a result of having

to pay tuition and fees for services they are not receiving and facilities that are not being




                                              3
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 3 of 23




provided. In so acting, NYU is unjustly enriching itself at the expense of Plaintiff and the

members of the class he seeks to represent.

       3.      The relationship between a matriculated student and NYU is contractual.

Separately from any express enrollment contract that may exist between the students and NYU,

New York law recognizes an implied-in-fact contract brought about by the conduct of the parties

during the students’ enrollment.

       4.   NYU has breached its contractual duties by ceasing all in-classroom instruction at

all campuses and shutting down campus facilities while continuing to assess and collect full

tuition and fee payment from Plaintiff and the class members as if full performance had been

rendered to them. Undoubtedly, however, the performance now being provided by NYU and

NYU’s campus facilities are of a different nature and of lesser value than what was bargained for

at the time of Plaintiff’s and the class members’ enrollment.

       5.   Plaintiff therefore brings this action on behalf of himself and all other similarly

situated students of NYU to seek redress for NYU’s breach of contract, unjust enrichment, and

acts amounting to the action of money had and received.

                               PARTIES AND JURISDICTION

       6. Plaintiff Daniel Zagoria is a resident of New York and attends NYU. He is scheduled

to graduate at the end of the summer semester of 2020 with a Master of Science Degree in Real

Estate Investment and Finance. For the 2019-2020 academic year, NYU charged tuition in

excess of $2,000 per credit unit. This tuition amount does not include the myriad of fees

charged by NYU—including fees allocated to use of campus facilities—which for the 2019-2020

academic year totaled an additional amount well over $1,000. Moreover, Plaintiff paid

additional fees to attend a Global Real Estate Markets course, which was described as a field




                                              4
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 4 of 23




course involving visits to Paris and Amsterdam to directly survey real estate in those locales.

That course never was offered in that manner; instead of visiting real estate properties across the

globe, the entire course was moved to remote video instruction. So too, the other courses in

Plaintiff’s program have been all moved to remote distance learning, thereby depriving Plaintiff

and his classmates of the benefit from the live in-classroom instruction that they bargained for,

including direct interaction and networking with the professors which was a major selling point

of these course offerings and programs.

       7.    Defendant New York University is a non-profit entity organized under the laws of the

State of New York having its principal place of business in New York City.

       8.    The Court has personal jurisdiction over Defendant NYU because it is

headquartered in the State of New York and conducts business in the State in the form of

operating a university at its New York City campus.

       9.    Venue is proper in this judicial district because NYU is headquartered in this judicial

district, its campuses are located in New York City within this judicial district, and the acts

complained of occurred within this judicial district. Venue in this court therefore is proper

under 28 U.S.C. §1391.

       10.    This Court has subject-matter jurisdiction over all counts of this Class Action

Complaint under the Class Action Fairness Act because Plaintiff seeks to represent a class whose

members are of worldwide citizenship (i.e., they are students having citizenship of their

respective various states of residency and also international students who are citizens of their

respective foreign countries of origin) and Defendant NYU is a New York citizen for purposes of

the federal diversity statute. The amount in controversy exceeds $5 million exclusive of costs,




                                              5
       Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 5 of 23




interest and attorneys’ fees. This Court therefore has subject-matter jurisdiction under 28 U.S.C.

§ 1332(d) over all counts alleged in this Class Action Complaint.



                                  FACTUAL ALLEGATIONS

       11.    Plaintiff Daniel Zagoria is a graduate student at NYU and is enrolled in a Master’s

Degree program in Real Estate Investment and Finance. He has been enrolled at NYU since the

2018 academic year and is scheduled to graduate with a Master of Science degree in 2020. For

the current 2019-2020 academic year, NYU charged tuition in an amount exceeding $2,000 per

credit unit. Given the number of years and credits required to complete NYU’s graduate degree

(or any undergraduate degree at NYU, for that matter) a student is expected to incur tens of

thousands of dollars or more in tuition and fees during their enrollment at NYU.

NYU Touted And Emphasized The Importance Of Its Schools’ Facilities And In-Person

Instruction

       12. The marketing and recruitment materials for NYU’s Schack Institute of Real Estate

within NYU’s School of Professional Studies where Plaintiff is enrolled went to great

lengths to highlight and tout the benefits of the in-classroom in-person teaching experience of its

Real Estate program. Describing these benefits, the school’s website specifically pointed out this

benefit:

       Networking

       Direct engagement with industry, through the nation’s leading conferences, regular
       speakers, internships, and more.

https://www.sps.nyu.edu/homepage/academics/divisions-and-departments/schack-institute-of-
real-estate.html (last visited May 6, 2020) (attached hereto as Exhibit 1 to Class Action Complaint).

       13.     And aside from the networking benefit touted by NYU for its Real Estate program




                                              6
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 6 of 23




within the Schack Institute, the specific coursework that Plaintiff signed up for also called for in-

person instruction and field visits across the globe. In this regard, Plaintiff’s Global Real Estate

Markets course was to include visits to Paris and Amsterdam to survey actual real estate

properties in those cities. None of that has occurred. NYU cancelled the site visits, moved all of

its instruction online, and announced that it was retooling the course to offer such “visits” by

way of video instead. Students’ complaints about the different nature and quality of the course

offering than what they had bargained for have gone unanswered. NYU has refused to make any

tuition accommodation or provide any reimbursement despite plainly not providing the services

and instruction for which students bargained (it has merely refunded some of the travel-related

costs for the travel that the course entailed but did not happen, without refunding any tuition).

       14.      Of course, NYU’s representations as to the benefits of its campus facilities and in-

person instruction were not limited merely to those it made in connection with Plaintiff’s

graduate program in Real Estate Investment. Instead, NYU touted the benefits of its facilities

and campus instruction across the board to students and prospective students in all its schools

and programs. For example, with respect to NYU’s Tandon School of Engineering, NYU’s

website informed students and prospective applicants about the state-of-the-art laboratory

facilities that students could avail themselves upon enrolling at NYU’s engineering school:


             Why NYU Tandon?

             Our reputation as a global education leader with a world-class faculty and state-of-
             the-art labs producing groundbreaking research make the School of Engineering the
             perfect place to pursue your degree.


https://engineering.nyu.edu/admissions/why-nyu-tandon#chapter-id-23766 (last visited May 6,
2020) (attached hereto as Exhibit 2 to Class Action Complaint).


       15. NYU makes similar representations about its College of Arts and Sciences. For


                                              7
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 7 of 23




example, within its webpage for the science program forming part of NYU’s College of Arts and

Sciences, NYU presents the breadth of its lab and center facilities, listing over a dozen

“Interdisciplinary Centers” as facilities furthering the students’ instruction: the Applied

Mathematics Laboratory; the Biomedical Chemistry Institute; the Center for Atmosphere Ocean

Science; the Center for Brain Imaging; Center for Cosmology and Particle Physics; the Center

for Development Genetics; the Center for Genomics and Systems Biology; the Center for Soft

Matter Research; the Center for Study of Human Origins; the Emotional Brain Institute; the

Institute for Study of Decision Making; the Materials Research Science and Engineering Center;

the Molecular Design Institute; and the Sloan-Swartz Center for Theoretical Visual

Neuroscience. See https://as.nyu.edu/science/centers.html (last visited May 6, 2020) (attached

hereto as Exhibit 3 to Class Action Complaint).

       16. None of these Centers or Institutes—key facilities that NYU used to market the value

of the science education afforded to students at the College of Arts and Sciences—actually is

open or available for use to the students. Despite this, NYU continues to charge and demand

tuition as though it were actually making these facilities and instruction therein available for

students.

       17.   NYU’s marketing materials’ emphasis on the in-classroom instruction and campus

facilities spanned the gamut of its educational offerings. This marketing campaign has not been

limited to the technological or scientific disciplines or courses. NYU has similarly touted the

benefits of its classroom teaching and facilities when marketing its arts-based curricula and

programs. By way of example, in its website description for NYU’s Institute of Fine Arts, which

offers graduate degree programs in various fine arts disciplines, NYU made the following




                                              8
       Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 8 of 23




representation:

       In the classroom and in the field

       Institute students are taught in small groups. They have opportunities to take
       classes in New York City’s museums and galleries.

       Institute students have full access to the resources of NYU and to graduate classes
       taught throughout the University.

       Unique in art history and conservation programs, all Institute students take courses
       together and in both fields.

       Institute students can participate in archaeological excavations at major
       monumental sites in Egypt, Greece, Italy, and Turkey.

       Institute students can benefit from funded travel opportunities, in group trips with
       professors and for independent experience.

http://www.nyu.edu/gsas/dept/fineart/prospective/index.htm (last visited May 7, 2020) (attached
hereto as Exhibit 4 to Class Action Complaint).

       18.   The reality, however, is that contrary to the foregoing representation, NYU’s

Institute of Fine Arts is not offering any such instruction nor any access to the facilities or travel

opportunities that NYU marketed as key benefits of its program. Instead, students at NYU’s

Institute of Fine Arts have seen all the Institute’s facilities closed and have been relegated to

instruction only through video remote learning. Despite this, NYU is charging and continues to

demand full tuition and fees as though such instruction and facilities were being made available.

       19.    In a similar vein, NYU’s marketing materials for its Stern School of Business

programs also extolled the advantages offered specifically by its classroom instruction.

Describing one of its most popular undergraduate programs—the Entertainment, Media and

Technology program at NYU’s Stern School of Business—NYU specifically highlighted the

program’s classroom experience coupled with the ability to participate in in-person field events:




                                               9
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 9 of 23




       The Stern EMT Program is unique within a business school, for it focuses on both
       the business and content aspects of the entertainment industries. The program
       offers students a range of different courses to choose from, depending on their
       career needs and interests.

       One of the more innovative courses within the EMT Program is called ‘Craft and
       Commerce of Cinema: Tribeca Film Festival.’ It involves classroom instruction,
       as well as access to the Tribeca Film Festival held every spring in Lower
       Manhattan. For a glimpse of this course, please visit: NYU Stern and the Tribeca
       Film Festival.
https://www.stern.nyu.edu/experience-stern/about/departments-centers-
initiatives/interdisciplinary-initiatives/entertainment-media-and-technology-program/academic-
programs/undergraduate (last visited May 7, 2020) (attached hereto as Exhibit 5 to Class Action
Complaint) (emphasis added).

       20.   Despite these representations about the value of its “classroom instruction,” the fact

is that no classroom instruction is being provided by NYU’s Stern School of Business. Instead,

as with all other NYU schools, all courses have been moved to a remote learning video format.

Despite this, NYU continues to charge and demand full tuition and fees as if the promised in-

classroom instruction were actually being offered.

NYU Now Recants And Implicitly Contends Online Distance Learning Without Campus
Facilities Provides The Same Learning Experience And Value As Its On-Campus
Classroom Instruction, Such That NYU Refuses To Provide Any Tuition Reimbursement.


       21.    Despite extolling the value and benefits of its in-classroom instruction throughout

its marketing materials, now that NYU is unable to deliver any of this on-campus classroom

instruction, it has recanted. NYU now has implicitly taken the position that distance remote

learning by video is of the same value, nature and quality as the on-campus classroom instruction

it consistently highlighted as a key benefit of education at NYU. NYU therefore recently

announced the following in response to student inquiries and demands for some tuition

reimbursement:




                                            10
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 10 of 23




       Will my tuition be refunded or discounted for the Spring semester?

       As classes continue to be conducted remotely, tuition will not be refunded.


       Will Registration and Services Fees be refunded?

       As classes continue to be conducted remotely, University Registration and
       Services Fees will not be refunded.

       Am I eligible for a refund if I withdraw from my Spring 2020 classes?

       Students withdrawing from classes after February 24, 2020 are not eligible for a
       tuition refund.

https://www.nyu.edu/life/safety-health-wellness/coronavirus-information/information-
for-students.html#finop (last visited May 7, 2020) (attached hereto as Exhibit 6 to Class
Action Complaint).


NYU Students Publicly Decry The Difference In Quality And Value Of The Current
“Remote Distance Learning” Instruction Provided By NYU.
       22.     That the putative class member students are not receiving the benefit of the

bargain for which they contracted when they agreed to enroll at NYU for this academic year is

independently evidenced by an online petition started by a NYU student. That petition entitled,

“Partial Refund on NYU Tuition” is available online at https://www.change.org/p/nyu-students-

request-partial-refund-from-nyu (last visited May 7, 2020). The petition demands a partial

tuition and fee refund for NYU students for the Spring 2020 semester, as it maintains students

are being charged fees and tuition for facilities and instruction they are not receiving.

       23.     Within days of its posting, the online petition received over 11,000 signatures in

support, a majority coming from NYU students. Students who signed or joined the petition were

also given the opportunity to post an explanation why they did so. These postings, a sample of

which are quoted below, are revealing:




                                              11
Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 11 of 23




      a. “I paid 40000 dollars for this semester. Literally. I don’t think it’s fair that I
         don’t get the access to equipment, facilities, and community and still have to
         pay full tuition.” (posted by Amrut Ayyala);

      b. “I didn’t pay to attend Zoom” (posted by Elain Frousios);

      c. “I am in Tisch and the hands-on training and connections I have paid for are not
         going to be the same on zoom” (posted by Sara Rhuda)

      d. “I have not paid this amount of money just to be sitting in front of my computer
         screen and not being able to fully utilize what NYU has to [sic] over. We are
         only getting a small portion for the full price.” (posted by Joseph Kim);

      e. “I helped my granddaughter spend her spring semester in Paris as an NYU
         student studying art history. The virus closed The Louvre and public places and
         NYU sent students home to distance learn with different instructors and less
         vigorous class material & resources for this field of study.” (posted by Dee
         Searing);

      f. “My son did not complete even half of the semester. Buildings are locked and
         he is unable to complete his 6 hours of daily practice, lessons, etc as he cannot
         find a place to do so.” (posted by Katherine Short);

      g. “i find it insane that more people has not petitioned for a refund. why are we
         paying more than 35k for something that i could have learned on youtube? at
         the very least they should refund us half of the tuition for the semester. and
         make summer classes heavily discounted, since they are going to be on zoom
         as well.” (posted by Zhen Qi Teo);

      h. “i didn’t sign up for online classes.” (posted by Katarina Nowack);

      i. “I am a international grad student and I didn’t pay this much for an online class.
         I have a student loan to pay at 14%.” (posted by Sumeet Kumar);

      j. “Personally, I didn’t pay for the program to attend Zoom and not get the benefit
         of networking and using the facilities.” (posted by Marc Hershberg);

      k. “Because zoom university is not worth 50k a year.” (posted by Mariana
         Acosta);

      l. “An NYU education in art history is an object-based program which also
         includes access to academic lectures, events, museum visits, unlimited library
         access, hands-on access to our conservation center labs, close mentoring from
         professors, etc., which zoom alone cannot replace.” (posted by Maria Barney);

      m. “I am 19 years old and financially independent ... I did not apply to an online
         school, even though it would have been cheaper. I applied to NYU for the



                                   12
Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 12 of 23




         chance to experience NYU campus life and connect with professors and other
         students in person, not through digital means..” (posted by Jeniffer Rodriguez);

      n. “NYU needs to be aware that they are hurting their students by passively
         observing the situation they're all in financially. I, like many other students, go
         to their laptop every day rather than to class in-person and now learn a
         curriculum that was drastically cut down and changed to fit the world's
         situation. This is not what we are paying objectively large amounts of money
         to go to this school for. NYU, please take this petition into consideration.”
         (posted by Alex Moudgil);

      o. “No matter how much NYU insists to the contrary, it is simply not possible to
         provide a full performing arts education via Zoom.” (posted by Molly Riddick);

      p. “I’m signing because being a performance major means that not only am I not
         getting the same standard of education promised, a lot of my classes have been
         cancelled due to being not fit to an online environment. My senior recital has
         been cancelled as well as industry showcase which is a part of the reason I chose
         to go to NYU in the first place” (posted by Madison Ligtermoet);

      q. “NYU Silver School of Social Work officially cancelled my field placement (a
         4-credit course) with 3 weeks to terminate remotely and compete any remote
         assignments. The last month of school I will not have the minimum 21
         hours/week of hands on learning I paid for. Not even anything virtual for the
         last 1/4 of the semester. AND I already am missing out on other things I paid
         for including NYU Health Insurance, access to facilities and events, and dining
         dollars for campus restaurants. We deserve to be reimbursed and compensated.”
         (posted by Laura Smith);

      r. “I am an international student. Cancelling the in-person classes makes me feel
         that I am doing a phantom American education. Not enough interaction with
         prof and my classmates. And the evaluation of each course will be
         compromised.” (posted by Wenyuan Li);

      s. “Zoom is not adequate for music majors' courses.” (posted by Kayla Lewis);

      t. “As a Tisch Drama student, I feel I have been robbed. I appreciate the school’s
         efforts to make zoom “work” but drama cannot be taught as effectively over
         zoom. IT CANT! The very idea of virtual classes goes against so much of what
         we work on with scene partners…” (posted by Sofia Mahdavi);

      u. “Most of my courses are reliant upon me being in class. I can't film in my
         filmmaking class; I can't pitch in my producing class; I can't argue in a mock
         trial in my law class; I have to present my colloquium, which is supposed to be
         the culmination of my education, on Zoom. This is not the same standard of
         education my parents and I paid for unfortunately” (posted by Ella
         Freudenberger);



                                    13
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 13 of 23




               v. “Remote class is nothing like the normal class!!!!” (posted by Yijia Lu);

               w. “I did not pay an absurd amount of money to sit in my own home and watch my
                  teacher present on my laptop :)))).” (posted by Kate Pina);

               x. “Losing the collaborative learning environment - as well as access to facilities
                  and equipment - means getting far less out of my education this semester than
                  I could have.” (posted by Jordan Rickman);

               y. “Some classes simply can’t be done online. ITP being a production heavy and
                  feedback focused program, going virtual takes away an essential part of our
                  learning experience. Furthermore a lack of access to equipment from both the
                  ER and shop (that we have also paid additional costs for) hinders students
                  ability to get the full education they initially signed up for. For example, a
                  production class that I now have to take virtually, forces students to watch our
                  professor use equipment that we cannot use ourselves. At that point, I’m better
                  off watching YouTube tutorials online - which are completely free. A lot of us
                  have taken on debt and risks in order to be here. NYU should acknowledge that
                  while we are forced with no choice but to continue virtually, we should account
                  for the unfair consequences and burden this has placed on the students.” (posted
                  by Anna Gudnason);

               z. “I paid over $11k in grad school tuition for 6 credits, which included a lab. Now
                  because of the school closing, we're losing out on more than half the semester
                  worth of lab sessions which teach you invaluable technical skills. I believe
                  students should be compensated with a refund for these missed sessions, as we
                  never fully got to utilize these facilities that we already paid for.” (posted by
                  Notoya Arthur).

       24.     The foregoing is just an illustrative sample of students’ postings. Countless

postings expressing similar sentiments by NYU students are online expressing the view that

neither the online instruction nor the lack of campus facilities equate with the bargained for

service and instruction that students signed up for when they enrolled at NYU. NYU changed

the bargain but has refused to make any refund of tuition or fees to the aggrieved students.

Professors and Deans Publicly Agree That “Remote Distance Learning” Is Not Equivalent
To, And Less Valuable Than, Traditional On-Campus University Education.
       25.    These sentiments are hardly surprising. College educators agree with the obvious

proposition that online education devoid of campus interaction and facilities plainly is not

equivalent in nature or value to the traditional in-classroom on-campus education for which NYU



                                             14
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 14 of 23




students matriculated and paid. This much was confirmed in a recent April 26, 2020 Op-Ed in

the New York Times in which Brown University President, Christina Paxson, pushed for a return

to campus instruction in the fall, “invoking all that makes in-person education so valuable: the

fierce intellectual debates that just aren’t the same on Zoom, the research opportunities in

university laboratories and libraries, and the personal interactions among students with different

perspectives and life experiences.”

        26.       Other education experts are even more blunt. Professor Jonathan Zimmerman

who specializes in the history of education at the University of Pennsylvania, was quoted in a

recent Philadelphia Inquirer op-ed: “Most online instruction isn’t as effective as the traditional

kind, which is why elite schools have consistently resisted it.”

                                CLASS ACTION ALLEGATIONS

        27.   Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(b)(3) and 23(b)(2) on behalf of himself and all other similarly situated students

enrolled at NYU who pay or are obligated to pay any tuition or fees and any students enrolled at

NYU in any future summer session or semester in which NYU does not provide access to its

campus facilities or on-campus instruction yet continues to charge full tuition and fees without

any proration. Excluded from the class are students who expressly registered for online courses

at NYU before the commencement of the Spring 2020 semester. Also excluded from the class

definition are all judicial officers assigned to this case and their staff.

        28.    Class certification is proper because the question raised by this complaint is one of

a common or general interest affecting numerous persons, such that it is impracticable to bring

them all before the court.

        29.   The class is sufficiently numerous, as NYU boasts an enrollment of approximately




                                               15
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 15 of 23




51,000 students. The overwhelming majority of these students pay or are obligated to pay at

least some portion of tuition or fees that are at issue in this litigation.

        30.    Plaintiff and his counsel are adequate representatives of the interests of the putative

class. Plaintiff is a student at NYU who is being charged tuition or fees as part of his enrollment.

He did not sign up for online instruction. He contends that NYU has breached its agreement

with students by continuing to charge and demand full tuition and fees despite NYU not

providing any in-person classroom instruction at any of its campuses and not making campus

facilities available for students.

        31.    Plaintiff has retained counsel experienced in class action litigation to litigate and

represent the interests of the class.

        32.    Plaintiff’s claims are typical of the claims being raised on behalf of the absent

class members. Like all absent class members, Plaintiff seeks redress for NYU’s failure to

provide any in-person campus instruction or campus facilities while continuing to charge full

tuition and fees. The claims Plaintiff asserts are the same and co-extensive as the claims raised

on behalf of the absent class members.

        33.    Plaintiff’s complaint raises questions of fact or law common to the class that

predominate over questions affecting only individual class members.           Among these

predominating common questions are:

                a. Whether the relationship between NYU and students matriculated at NYU is

                    contractual in nature;

                b. Whether NYU and its member schools ceased providing in-person classroom

                    instruction across the board;




                                                16
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 16 of 23




               c. Whether NYU and its member schools deprived class members of the use and

                   enjoyment of campus facilities;

               d. Whether the value of online instruction is not equivalent to the value of the in-

                   person classroom instruction that class members bargain for and are for which

                   they were and are continuing to be charged;

               e. Whether the value of campus facilities for which class members are still being

                   charged has been lessened as a result of NYU shutting down the campus

                   facilities;

               f. Whether the action of NYU in continuing to charge and demand full tuition

                   and fees has harmed the class members;

               g. Whether a method of computing classwide damages or restitution exist;

               h. Whether class members are entitled to declaratory or injunctive relief against

                   NYU;

               i. Whether NYU has unjustly enriched itself at the expense of the class

                   members.

       34.     Classwide litigation provides a superior means of adjudicating this dispute over

individual litigation. The cost of litigating an individual student’s claim for partial refund of

tuition or fees make such individual litigation unfeasible given the costs of bringing such an

action relative to the amount of damages that could be recovered in an individual action. Further,

individual litigation risks the prospect of inconsistent rulings that would unsettle the legal

obligations or expectations of NYU and class members.

       35.    The class is ascertainable, as NYU maintains rosters of all its attending students

and their financial obligations and payments.




                                              17
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 17 of 23




        36.     In the event that the Court were to find the proposed Class definition inadequate

in any way, Plaintiff respectfully prays for certification of any other alternative, narrower class

definition or for the certification of subclasses, as appropriate. Plaintiff reserves the right to

modify the class definition and to define subclasses as case circumstances warrant.


                                   FIRST CAUSE OF ACTION
                                         (Breach of Contract)

        37.    Plaintiff realleges and incorporates by reference all previous allegations, as though

set forth in full herein.

        38.     By the act of matriculation, together with payment of required fees, a contract

between Plaintiff and the absent class members on the one hand and, on the other hand, NYU

was created. Thus, in addition to any enrollment contract that may exist between NYU and the

Plaintiff and class members, an implied-in-fact contract independently exists between the parties

as a matter of New York law.

        39.    A material component of this contractual relationship—whether documented in an

express enrollment contract or in an implied-in-fact contract whose terms are defined by the

parties’ conduct is that instruction by NYU to the class members would not take place through

online remote learning but would occur at NYU’s campus classrooms and facilities. This is

confirmed by the fact that NYU does offer prospective students an option to matriculate in online

instruction for certain courses and programs offered in an online format from the outset. But to

do so, a student must specifically elect to apply for, and matriculate in, an online course or

program. The class members elected not to apply for or matriculate in online courses or

programs offered by NYU, thereby confirming that what they bargained for was in-classroom

instruction.



                                              18
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 18 of 23




       40.   By ceasing all in-person classroom instruction, relegating Plaintiff and the class

members to online instruction only, and shutting off campus facilities to Plaintiff and the class

members, NYU has failed to provide the services that Plaintiff bargained for in entering his

contractual relationship with NYU.

       41.    Although NYU may not bear culpability for the campus closures or the inability to

provide any classroom instruction, neither do the enrolled students. Yet, while NYU has used

the current COVID 19 shutdown circumstances to excuse its obligation to fully perform the

obligations of its bargain with its students, NYU continues to demand that all students fully

perform their contractual bargain to pay in full all tuition and fees without any reduction for

NYU’s lack of full performance. This is contrary to ordinary tenets of contract law.

       42.    The nature of the instruction provided by NYU at the time Plaintiff and the class

members enrolled (i.e., in-person classroom instruction) as well as the campus facilities offered by

NYU across its schools and campuses were and are material terms of the bargain and contractual

relationship between students and NYU.

       43.    NYU’s failure to provide any in-person classroom instruction and its shutdown of

campus facilities amount to a material breach of the contract.

       44.    As a result of NYU’s material breach—regardless of whether NYU’s performance

may be excused—Plaintiff and the class members are not to be held liable to continue to perform

their contractual obligations. That is, regardless of whether NYU’s failure to offer in-person

classroom instruction or to provide campus facilities is to be excused as a result of the COVID

19 pandemic, NYU cannot continue to demand full payment of tuition and fees from Plaintiff

and class members for services and facilities that NYU indisputably has failed and is failing to

provide.




                                             19
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 19 of 23




       45.    NYU’s breach and continued demand for full payment from Plaintiff and the

absent class members are the proximate causes of Plaintiff’s and the class members’ injury.

       46.    Plaintiff and the class members have all been harmed as a direct, foreseeable, and

proximate result of NYU’s actions because Plaintiff and the class members are being charged

full tuition and fees for services that NYU is not providing.

       47.    Plaintiff and class members are entitled to an award of money damages or partial

restitution in an amount to be determined at trial as redress for NYU’s breach. Plaintiff prays for

the establishment of a Court-ordered and supervised common fund from which the claims of

affected class members may be paid and the attorneys’ fees and costs of suit expended by class

counsel, as approved by the Court, may be awarded and reimbursed.

       48.    NYU continues to insist that full tuition and fees are due from Plaintiff and the

students despite NYU’s failure to fully perform their contractual obligations. Unless restrained

by way of injunctive relief, NYU’s conduct is reasonably likely to lead to irreparable harm.

Plaintiff and the class members are entitled to and do hereby pray for injunctive relief to enjoin

NYU’s continued conduct.

       49.    NYU continues to falsely represent on its website that it offers campus facilities

with significant benefit and value to students and continues to falsely represent the value of its

in-person on-campus classes. Unless restrained by way of injunctive relief, NYU’s conduct is

reasonably likely to lead to irreparable harm. Plaintiff and the class members are entitled to and

do hereby pray for injunctive relief to enjoin NYU’s continued conduct.

       50.    As the online petition referenced in paragraph 23 supra makes clear, NYU

evidently disputes its obligation to refund any tuition or fees to Plaintiff or any class member.

Given this dispute and the contractual relationship between the parties, Plaintiff and the class




                                             20
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 20 of 23




members are entitled to and do hereby pray for declaratory relief to have the Court declare the

parties’ respective obligations.

                                            COUNT II

                                        (Unjust Enrichment)
        51.    Plaintiff realleges and incorporates by reference the allegations of paragraphs 1-36

as though set forth in full herein.

        52.   Plaintiff and the class members conveyed money to NYU in the form of tuition and

fees for on-campus instruction and facilities that NYU did not provide and is not providing.

NYU has continued to retain these monies, despite not providing the on-campus instruction or

facilities

        53.   Through this conduct, NYU has been unjustly enriched at the expense of Plaintiff

and the class members.

        54.   As between the two parties (NYU and the class members), it would be inequitable

to permit NYU to fully retain all the benefits conferred upon it by Plaintiff and the class

members in the form of tuition and fees paid.

        55.    Plaintiff and the class members are entitled to and do hereby pray for an order of

partial restitution as redress for NYU’s unjust enrichment. Plaintiff prays for the establishment

of a Court-ordered and supervised common fund from which the claims of affected class

members may be paid and the attorneys’ fees and costs of suit expended by class counsel, as

approved by the Court, may be awarded and reimbursed.

        56.     NYU continues to falsely represent on its website that it offers campus facilities

with significant benefit and value to students and continues to falsely represent the value of its

in-person on-campus classes (false because such on-campus instruction is not being offered).

NYU also continues to defy and deny any requests for partial tuition or fee reimbursement,


                                             21
      Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 21 of 23




claiming falsely that it is offering the same services as had been bargained for by Plaintiff and

the class members. Thus, NYU is continuing to demand full tuition and fees even when it

already has announced it will not be providing any on-campus instruction for the summer

sessions and is uncertain whether it will do so for the Fall 2020 semester. Unless restrained by

way of injunctive relief, NYU’s conduct is reasonably likely to lead to irreparable harm.

Plaintiff and the class members are entitled to and do hereby pray for injunctive relief to enjoin

NYU’s continued conduct.

                                             COUNT III
                                      (Money Had And Received)

        57.    Plaintiff realleges and incorporates by reference the allegations of paragraphs 1-36

as though set forth in full herein.

        58.   NYU received money from Plaintiff and the class members in the form of tuition

and fee payments.

        59.   This money received by NYU from Plaintiff and the class members was supposed

to be used by NYU for the benefit of the Plaintiff and class members; namely, it was supposed to

be used for NYU’s provision of on-campus university instruction and campus facilities to

Plaintiff and the class members.

        60.    NYU received and pocketed the money provided by Plaintiff and the class

members in the form of tuition and fee payments but has not provided any campus facilities or

on-campus instruction. NYU, therefore, is indebted to Plaintiff and the class members for this

failure to provide on-campus instruction and campus facilities.

        61.   Plaintiff and the class members hereby pray for the full panoply of remedies




                                              22
        Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 22 of 23




available as redress for a claim of money had and received, including: a constructive trust over

such monies had and received for which the benefit was not provided; restitution or

disgorgement, as appropriate; and declaratory and injunctive relief.



                 PRAYER FOR RELIEF AND DEMAND FOR JURY TRIAL

         WHEREFORE, Plaintiff respectfully prays for judgment against Defendant NYU as

follows:

   1.      For an order certifying this action as a class action as defined herein, appointing

Plaintiff and his counsel as class representatives, and directing notice be disseminated to the

absent class members;

   2.      For judgment in favor of Plaintiff and the class members and against Defendant NYU

on all counts and claims for relief;

   3.      For damages and/or restitution awarded to the class against Defendant NYU in an

amount to be determined at trial;

   4.      For the establishment of a Court-ordered and supervised common fund to be funded by

Defendant NYU and from which: claims of all eligible class members will be paid; attorneys’

fees awarded to Class counsel will be paid; costs of suit approved by the Court and incurred by

Class counsel will be reimbursed; and, any award of interest will be disbursed;

   5.      For interest as permitted by law;

   6.      For an award of attorneys’ fees;

   7.      For costs of suit;

   8.      For declaratory relief to have the Court declare the obligations of the parties;

   9.      For injunctive relief to enjoin Defendant’s ongoing conduct; and,




                                               23
    Case 1:20-cv-03610-GBD-SLC Document 1 Filed 05/08/20 Page 23 of 23




  10.   For such other and future relief as this Court deems just and proper.

  Plaintiff demands a trial by jury on all counts and claims so triable.




Dated: May 8, 2020                          Respectfully submitted,

                                            THE MEHDI FIRM

                                            /s/ Azra Mehdi________________
                                            Azra Mehdi, Esq.

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                                           24
